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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 07-20534-CR-UNGARO/SIMONTON

  UNITED STATES OF AMERICA,

        Plaintiff,

  v.

  VIVENS DELORME, et al.,

        Defendants.
                                   /

                ORDER DENYING PENDING MOTIONS WITHOUT PREJUDICE

        Presently pending before the Court are Defendant Vivens Delorme’s Motion for

  Bill of Particulars (DE # 133), Motion for Order Directing FDC-Miami to Provide Defendant

  Access to Discovery and to His Investigator (DE # 141), Motion to Exclude Autopsy

  Evidence (DE # 142), and Motion to Exclude Evidence Concerning Defendant’s Past

  Criminal Activity (DE # 154). The Honorable Ursula Ungaro, the United States District

  Judge assigned to this case, referred all pretrial motions to United States Magistrate

  Judge John J. O’Sullivan and this case was reassigned to the undersigned United States

  Magistrate Judge pursuant to Administrative Order 2008-09 (DE # 78). Based upon a

  review of the record and for the reasons stated herein, Defendant’s pending motions (DE

  ## 133, 141-42, 154) are DENIED WITHOUT PREJUDICE.

        The pending pretrial motions that are the subject of this Order were filed by

  Defendant Vivens Delorme’s original counsel, Paul Petruzzi, Esq., who was replaced by

  Terrance Lenamon, Esq. on December 30, 2008, due to a conflict of interest (DE # 175).1



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           Mr. Lenamon’s appointment was effective December 23, 2008, to permit a week-
  long period of overlapping representation to ensure that the replacement of counsel
  occurred in an orderly and efficient manner (DE # 175).
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  In addition, Eric Martin Cohen, Esq. was appointed as learned counsel to represent

  Defendant Delorme on January 23, 2009 (DE # 178).

         Based upon the appointment of new counsel to represent Defendant Delorme, the

  undersigned concludes that it is appropriate to permit new counsel to review the matters

  raised in the pending motions; to consult with government counsel to resolve them, if

  possible; and to present additional arguments or authority with respect to those matters

  in re-filed motions, if necessary. It is, accordingly,

         ORDERED AND ADJUDGED that Defendant Vivens Delorme’s Motion for Bill of

  Particulars (DE # 133), Motion for Order Directing FDC-Miami to Provide Defendant

  Access to Discovery and to His Investigator (DE # 141), Motion to Exclude Autopsy

  Evidence (DE # 142), and Motion to Exclude Evidence Concerning Defendant’s Past

  Criminal Activity (DE # 154) are DENIED WITHOUT PREJUDICE to re-file at the

  appropriate time, after consulting with government counsel in a good faith effort to

  resolve the issues raised therein.

         DONE AND ORDERED in chambers in Miami, Florida on February 3, 2009.




                                                     ANDREA M. SIMONTON
                                                     UNITED STATES MAGISTRATE JUDGE

  Copies furnished to:
  The Honorable Ursula Ungaro,
         United States District Judge
  All counsel of record




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